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8                             UNITED STATES DISTRICT COURT
9                           CENTRAL DISTRICT OF CALIFORNIA
10    MOLINA HEALTHCARE, INC., a                 Case No. 2:23-cv-07417-AB-JC
      California corporation; and
11    VINOD MOHAN, an individual,                ORDER DISMISSING CIVIL
                                                 ACTION
12                     Plaintiff,
13    v.
14
      ELEVANCE HEALTH, INC., an
15    Indiana corporation,

16                     Defendant.
17
18         The Court has been advised that this action has been settled. The Court
19   commends the parties.
20         All dates and hearings are VACATED. The Court ORDERS that this action is
21   hereby DISMISSED without costs and without prejudice to the right, upon good
22   cause shown within 30 days, to re-open the action if settlement is not consummated.
23   This Court retains full jurisdiction over this action and this Order shall not prejudice

24   any party to this action.

25   Dated: November 3, 2023                 _______________________________
26                                           ANDRÉ BIROTTE JR.
                                             UNITED STATES DISTRICT JUDGE
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